                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN



    Scarlett Pavlovich
                              ,                      )         NOTICE OF VOLUNTARY
                              Plaintiff(s)           )         DISMISSAL PURSUANT TO
               v.                                    )         F.R.C.P. 41(a)(1)(A)(i)
                                                     )
                                                     )         Case No.: 3:25-cv-00078-JDP
    Amanda Palmer             ,                      )
                              Defendant(s)           )
                                                     )
                                                     )

    NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

        Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the
             Scarlett Pavlovich
plaintiff(s) ______________________     and or their counsel(s), hereby give notice that the above-
captioned action is voluntarily dismissed, without prejudice against the defendant(s)
Amanda Palmer
______________________.


Date: April 21, 2025


                                                     ____________________________
                                                     Signature of plaintiffs or plaintiff’s counsel

                                                     1700 Broadway, 16th Floor
                                                     ____________________________
                                                     Address

                                                     New York, New York 10019
                                                     ____________________________
                                                     City, State & Zip Code

                                                     646 845 6085
                                                     ____________________________
                                                     Telephone Number
